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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                  NO. 11-cr-20148
       v.
                                                  HON. GEORGE CARAM STEEH
D-3 ARMANDO DAVILA,
      a.k.a. ARMANDO DAVILLA,

                  Defendant.
________________________________/

            ORDER FOR ARREST WARRANT AND BOND REVOCATION HEARING

       Before the Court is the Government's Motion for Arrest Warrant and Bond Revocation Hearing,

Docket No. 33. Being fully advised in the premises,

       IT IS HEREBY ORDERED that the motion is granted as follows:

       IT IS HEREBY ORDERED that a warrant is issued for the arrest D-3 ARMANDO DAVILA

will be issued;

       IT IS HEREBY ORDERED that a hearing on the Government's Motion to Revoke Bond will

occur on Wednesday, August 31, 2011 at 9:30 AM.


                                                        s/George Caram Steeh
                                                        HON. GEORGE CARAM STEEH
                                                        UNITED DISTRICT COURT JUDGE

Dated: August 29, 2011
